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 1   BLACKMON & ASSOCIATES
     CLYDE M. BLACKMON (SBN 36280)
 2   FRED N. DAWSON (SBN 43306)
     JONATHAN C. TURNER (SBN 191540)
 3   EMILY E. DORINGER (SBN 208727)
     813 Sixth Street. Suite 450
 4   Sacramento, Ca 95814
     Telephone: (916) 441-0824
 5
     Attorneys for Defendant
 6   KIENG PHAT LIENG
 7
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                 Case No.: 2:06-CR-0356FCD
11
                Plaintiff,                     STIPULATION AND ORDER
12                                             CONTINUING JUDGMENT
          vs.                                  AND SENTENCING
13
     KY CHAN HAU, SAM WANG CHAO, aka
14   Saan Wang Sachao, and KIENG PHAT          Date: May 27, 2008
     LIENG,                                    Time: 10:00 A.M.
15                                             Judge: Frank C. Damrell, Jr.
     ,
16
                Defendants.
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18
          IT IS HEREBY STIPULATED between the Defendant, Kieng Phat
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     Lieng, through his counsel Clyde M. Blackmon, Ky Chan Hau,
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     through his counsel Jerry Chong, and the United States of
21
     America, through its counsel Assistant United States Attorney
22
     Michael Beckwith, that the imposition of judgment and sentence
23
     in this matter be continued from May 27, 2008 to August 18,
24
     2008, at 9:30 a.m. before the Honorable Frank C. Damrell, Jr.
25
          A continuance of the imposition of judgment and sentence in
26
     this matter is necessary to develop information pertaining to
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                                       - 1 –
                      STIPULATION AND ORDER CONTINUING JUDGMENT
                                     AND SENTENCING
      Case 2:06-cr-00356-MCE Document 82 Filed 05/23/08 Page 2 of 3


 1   Mr. Lieng and Mr. Hau which will be relevant to the Court’s
 2   sentencing decisions as to each defendant.
 3   IT IS SO STIPULATED.
 4
     DATED:     May 23, 2008
 5
 6
                                           By: //s// Clyde M. Blackmon____
 7                                              Michael Beckwith
                                                Assistant U.S. Attorney
 8
 9   DATED:     May 23, 2008
                                           By: _//s// Clyde M. Blackmon___
10                                                Clyde M. Blackmon
                                                  Attorney for Defendant
11                                                KIENG PHAT LIENG
12
     DATED:     May 23, 2008
13                                         By: _//s// Clyde M. Blackmon___
                                                  Jerry Chong
14                                                Attorney for Defendant
15                                                KY CHAN HAU

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                      STIPULATION AND ORDER CONTINUING JUDGMENT
                                     AND SENTENCING
      Case 2:06-cr-00356-MCE Document 82 Filed 05/23/08 Page 3 of 3


 1                          ORDER CONTINUING DATE
                   FOR IMPOSITION OF JUDGMENT AND SENTENCE
 2
 3        GOOD CAUSE APPEARING for the reasons set forth in the
 4   stipulation between counsel, the date for imposition of judgment
 5   and sentence in this matter is continued to August 18, 2008 at
 6   10:00 a.m.
 7   IT IS SO ORDERED.
 8
 9   DATED: May 23, 2008               __________________________________
10                                     FRANK C. DAMRELL, JR.
                                       United States District Court Judge
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                      STIPULATION AND ORDER CONTINUING JUDGMENT
                                     AND SENTENCING
